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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Tyrone Alderson,                                  )
      Plaintiff,                                  )
                                                  )        No. 22CV1193
                 v.                               )
                                                  )
Sheriff of Cook County,                           )        Judge Robert W. Gettleman
et al.,                                           )        Mag. Judge Jeffrey Cole
        Defendants.                               )        JURY DEMANDED


                     DEFENDANT COOK COUNTY’S ANSWER
             TO PLAINTIFF’S COMPLAINT AND AFFIRMATIVE DEFENSES

        NOW COMES Defendants STURDIVANT, GULTNEY, AND LARRY, (hereinafter

“Defendants”) by their attorney KIMBERLY M. FOXX, State’s Attorney of Cook County,

through her Assistant State’s Attorneys MOLLY E. TRIOLO and JOEL ZEID, and answer

Plaintiff’s Complaint as follows: 1

        1.      This is a civil action arising under 42 U.S.C. § 1983. The jurisdiction of this Court

is invoked pursuant to 28 U.S.C. § 1343.

ANSWER: Defendants admit the allegations contained in this paragraph and deny any
wrongdoing.

        2.      Plaintiff Tyrone Alderson was a detainee at the Cook County Jail in February 2020

when he was attacked by another detainee while one or more of the defendants stood by.

ANSWER: Defendants admit that Plaintiff was a detainee at the Cook County Jail in
February 2020 and that Plaintiff and another detainee were involved in an altercation.
Defendants deny the remaining allegations contained in this paragraph.




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 On May 11, 2022, Defendant Cook County filed an Answer to Plaintiff’s Complaint. (Dkt. 18). On May 16, 2022,
Defendant Sheriff of Cook County filed a Motion to Dismiss. (Dkt. 19).

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       3.      Correctional Lieutenant Johnetta Sturdivant was at all relevant times acting under

color of authority as a correctional lieutenant employed by the Sheriff of Cook County; plaintiff

brings only individual capacity claims against Sturdivant.

ANSWER: Defendants admit the allegations contained in this paragraph.

       4.      Correctional Officers Jerome Gultney, #14998 and Kenneth Larry, #6055 were at

all relevant times acting under color of their authority as correctional officers employed by the

Sheriff of Cook County; plaintiff brings only individual capacity claims against these defendants.

ANSWER: Defendants admit the allegations contained in this paragraph.

       5.      Defendant Sheriff of Cook County is sued in his official capacity for injuries

plaintiff incurred as the result of the Sheriff’s policies and widespread practices described below.

ANSWER: Defendants admit that Plaintiff sues Defendant Sheriff of Cook County in his
official capacity. Defendants deny the remaining allegations contained in this paragraph.

       6.      Defendant Cook County is joined in this action pursuant to Carver v. Sheriff of

LaSalle County, 324 F. 3d 947 (7th Cir. 2003).

ANSWER: Defendants admit the allegations contained in this paragraph. Because
Defendant Cook County remains in this action only for the purpose of indemnification,
Defendants contend that Defendant Cook County should not have any discovery obligations
going forward. Wallace v. Masterson, 04 C 1827, 345 F. Supp. 2d 917, 926-27 (N.D. Ill. Nov.
23, 2004)(Filip, J.)(granting Cook County’s request that it not be subject to discovery where
it was named in the lawsuit solely for purposes of indemnification).




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       7.      In February of 2020, pretrial detainees awaiting a court appearance were held in

various “bullpens.” The bullpen at issue in this case is shown below:




ANSWER: Defendants object that there is no foundation for the above photograph included
by Plaintiff. Defendants admit that detainees are sometimes held in areas referred to as
bullpens. Defendants deny any wrongdoing.

       8.      On the morning of February 21, 2020, plaintiff was sitting in the above referred

“bullpen” when, at 7:17:17 a.m., correctional officers placed another detainee, William Carr, into

that bullpen, who is show below walking through the door to the bullpen:




ANSWER: Defendants object that there is no foundation for the above photograph included
by Plaintiff. Defendants admit that Plaintiff was located in a bullpen on February 21, 2020
at approximately 7:16 a.m. Defendants deny any wrongdoing.




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      9.       Carr noticed plaintiff in the bullpen and gestured to him:




ANSWER: Defendants object that there is no foundation for the above photograph included
by Plaintiff. Defendants deny the allegations contained in this paragraph.

      10.      Carr then walked to plaintiff and began to beat and strike him about the head, as

shown below:




ANSWER: Defendants object that there is no foundation for the above photograph included
by Plaintiff. Defendants admit that Plaintiff was involved in an altercation, but deny any
wrongdoing.




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        11.   Plaintiff made his way to the door of the bullpen to plead for assistance from the

officers who were outside of the bullpen, as shown below:




ANSWER: Defendants object that there is no foundation for the above photograph included
by Plaintiff. Defendants deny the allegations contained in this paragraph.

        12.   Defendants Gultney and Larry heard plaintiff’s pleas but failed to respond.

Defendant Gultney eventually opened the door and stood by while Carr continued to attack

plaintiff:




ANSWER: Defendants object that there is no foundation for the above photograph included
by Plaintiff. Defendants deny the allegations contained in this paragraph.




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          13.   Defendants Gultney and Larry could have, but refused to, intervene to stop Carr

from continuing to beat and strike plaintiff; defendants Gultney and Larry thereby caused plaintiff

to receive serious personal injuries.

ANSWER: Defendants deny the allegations contained in this paragraph.

          14.   The incident described above was not the first time that Carr targeted plaintiff.

About two months earlier, Carr attacked plaintiff and physically injured him; plaintiff reported the

incident to officials at the Jail and told them that he wanted to press charged against Carr.

ANSWER: Defendants admit that Plaintiff and detainee Carr were involved in an incident
in December 2019. Defendants deny the remaining allegations contained in this paragraph.

          15.   To prevent future harm to detainees who report a physical attack by another

detainee, the official policies of the Sheriff of Cook County authorize issuance of a “Keep Separate

Order” to prevent the two detainees from being held in the same bullpen awaiting court.

ANSWER: Defendants admit that there is a Cook County Department of Corrections Policy
regarding Keep Separate Orders, but deny any wrongdoing.

          16.   Defendant Sturdivant learned of the initial attack by Carr when Sturdivant reviewed

a grievance that plaintiff had filed.

ANSWER: Defendants admit that Defendant Sturdivant responded to Plaintiff’s Grievance
with control # 201913336. Defendants deny any wrongdoing.

          17.   Defendant Sturdivant also learned that a “Keep Separate Order” had not been

issued.

ANSWER: Defendants deny the allegations contained in this paragraph.

          18.   Defendant Sturdivant turned a blind eye to the likelihood that Carr would again

beat and strike plaintiff if the two were held in the same bullpen and did not cause a “Keep Separate

Order” to be issued.

ANSWER: Defendants deny the allegations contained in this paragraph.

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           19.   Plaintiff expects that discovery will uncover numerous detainee altercations that

would not have occurred had a “Keep Separate Order” been issued when necessary and that

defendant Sheriff was aware of the failure of correctional staff to properly implement the “Keep

Separate Order” policy. Plaintiff also expects that discovery will show that the Sheriff turned a

blind eye to the failure of the correctional staff to implement the “Keep Separate Order” policy.

ANSWER: Defendants deny the allegations contained in this paragraph.

           20.   As a result of the foregoing, plaintiff was deprived of rights secured by the Fourth

and Fourteenth Amendments to the Constitution of the United Stated and suffered physical injuries

and experienced pain and suffering.

ANSWER: Defendants deny the allegations contained in this paragraph.

           21.   Plaintiff demands trial by jury.

ANSWER: Defendants admit that Plaintiff demands trial by jury.

           WHEREFORE plaintiff requests that appropriate compensatory and punitive damages by

awarded against defendant Gultney, Larry, and Sturdivant, that appropriate compensatory damages

be awarded against defendant Sheriff, and that the costs of this action, including fees and costs, by

taxed against defendant Sherifff.

ANSWER: Defendants deny that Plaintiff’s constitutional rights were violated and further
deny that Plaintiff is entitled to any of the relief listed in this paragraph.

                                      AFFIRMATIVE DEFENSES

           Further answering Plaintiff’s Complaint, Defendants allege the following separate

affirmative defenses against Plaintiff:

      I.         Qualified Immunity

        1.       With respects to Plaintiff’s claims, Defendants did not cause the deprivation of any

Constitutional rights of Plaintiff.

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        2.      The conduct of Defendants was at all times objectively reasonable and did not

violate any of Plaintiff’s clearly established Constitutional rights.

        3.      Accordingly, Defendants are entitled to the defense of qualified immunity.

     II.        Immunity from Punitive Damages

           4.   To the extent Plaintiff seeks punitive damages from Defendants in their official

capacities, Defendants assert immunity from same.

        5.      First, an official capacity suit is tantamount to a claim against the government entity

itself. Guzman v. Sheahan, 495 F.3d 852, 859 (7th Cir. 2007).

        6.      Second, a municipality is immune from punitive damages under 42 U.S.C. §1983.

City of Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981).

        7.      Thus, Defendants are immune from punitive damages in their official capacities.

    III.        Failure to Mitigate

        8.      To the extent it is revealed that Plaintiff failed to take reasonable measures to

mitigate his alleged injuries and damages, those facts shall be presented to preclude recovery for

Plaintiff.

    IV.         42 U.S.C. §1997e(a)

        9.      Under Section 1997e(a) of the Prisoner Litigation Reform Act (the “PLRA”)

plaintiff must exhaust his administrative remedies before filing a Section 1983 lawsuit for

damages.

        10.     Plaintiff has not exhausted his administrative remedies as the PLRA requires. See

Dale v. Lappin, 376 F.3d 652, 655 (7th Cir. 2004).

        Defendant reserves the right to amend the affirmative defenses at any point throughout the

course of discovery.



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                                         JURY DEMAND

       With regard to any issue that may be appropriately heard by a jury in this cause of action,

Defendant hereby demands a jury trial.

       WHEREFORE, based on the foregoing, Defendant denies that Plaintiff is entitled to any

relief, including by not limited to nominal and compensatory damages, costs, and attorneys’ fees.

Defendant prays that this Court grant judgment in favor of Defendant and against Plaintiff on all

counts, and further requests that this Court grant judgment in favor of Defendant and against

Plaintiff for costs, attorneys’ fees, and such other relief that this Court deems just and appropriate.

                                       Respectfully submitted,

                                               KIMBERLY M. FOXX
                                               State’s Attorney of Cook County

                                               By:     /s/Molly Triolo
                                                       Molly Triolo
                                                       /s/ Joel Zeid
                                                       Joel Zeid
                                                       Assistant State’s Attorneys
                                                       500 Richard J. Daley Center
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                                 CERTIFICATE OF SERVICE
        Molly E. Triolo, hereby certifies that, in accordance with Fed. R. Civ. P. 5. and LR 5.5
and the General Order on Electronic Case Filing (ECF), the foregoing was served pursuant to the
District Court’s ECF system as to ECF filers on May 16, 2022.


                                                       /s/ Molly E. Triolo
                                                       Molly E. Triolo




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